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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I

  UNITED STATES OF AMERICA,                    Case No. 18-cr-00070-DKW-12

               Plaintiff,                      ORDER DENYING
                                               DEFENDANT’S MOTIONS TO
        vs.                                    DISMISS

  ROBERT DARNELL BEAL,

               Defendant.


       Before the Court are two Motions to Dismiss the Third Superseding

 Indictment (the “Indictment”) as to Defendant Robert Beal. Beal argues Count I of

 the Indictment should be dismissed as duplicitous and because his Due Process and

 Speedy Trial rights have been violated. His Due Process claims center on the

 Government’s inability to produce a copy of either the traffic stop recording of

 Beal’s taxi during which drug evidence was recovered or a recording of his post-

 arrest interview on December 10, 2014. Beal’s Speedy Trial claims assert

 prejudice caused by the roughly two-year period between indictment and his

 expected June 21, 2021 trial, a delay to which he only partially objected. Because,

 as more fully explained below, Beal has failed to show prejudice from the absence

 of the referenced recordings or that either would offer exculpatory evidence that is

 not already available to him, and because he has not shown that the portion of the




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 trial delay to which objected was somehow unreasonable, both motions (Dkt. Nos.

 360, 371) are DENIED.

                               LEGAL STANDARDS

       “A party may raise by pretrial motion any defense, objection, or request that

 the court can determine without a trial of the general issue.” Fed. R. Crim. P.

 12(b)(2). In considering a pretrial motion to dismiss an indictment, the court “must

 presume the truth of the allegations in the charging instruments.” United States v.

 Jensen, 93 F.3d 667, 669 (9th Cir.1996). “Although the court may make

 preliminary findings of fact necessary to decide the legal questions presented by

 the motion, the court may not invade the province of the ultimate finder of fact.”

 United States v. Nukida, 8 F.3d 665, 669 (9th Cir.1993) (internal citations omitted).

                                    DISCUSSION

       Beal’s motions primarily concern: (1) the loss of evidence, specifically, a

 video of the traffic stop of Beal’s taxi and an audio recording of a law enforcement

 interview, both from December 10, 2014; and (2) delays—both in bringing the

 indictment and getting Beal’s case to trial. As to the former, Beal has failed to

 demonstrate that the loss of the recordings has meaningfully impaired his ability to

 defend himself because he fails to articulate what exculpatory value, if any, either

 recording possesses. As to the latter, Beal again fails to meet his burden, primarily

 because he fails to show how the pre-indictment delay was prejudicial or that any


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 pretrial delay, particularly the limited portion to which he objected, was

 unreasonable. For these reasons, both of his Motions to Dismiss are DENIED.

 I.    Due Process

       Beal takes a two-pronged approach to the violation of his Due Process

 rights. First, he argues that pre-indictment delay caused evidence to be lost, and

 that loss has impaired his ability to defend himself. Dkt. No. 360-1 at 3–6.

 Second, he argues that law enforcement failed to preserve unique evidence with

 alleged exculpatory value. Dkt. No. 371. Because Beal has failed to demonstrate

 how loss of the evidence in question causes him actual prejudice, that the lost

 evidence had any value, much less of the exculpatory variety, or that the

 Government acted in bad faith in failing to retain it, neither argument has merit.

       A.     Standard

       “In order to succeed on his claim that he was denied due process because of

 pre-indictment delay, [a defendant] must satisfy both prongs of a two-part test.

 First, he must prove actual, non-speculative prejudice from the delay. Second, the

 length of the delay is weighed against the reasons for the delay, and [the defendant]

 must show that the delay offends those fundamental conceptions of justice which

 lie at the base of our civil and political institutions.” United States v. Corona-

 Verbera, 509 F.3d 1105, 1112 (9th Cir. 2007) (citations and internal quotation

 marks omitted). A court only need reach the second prong if the defendant is able


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 to demonstrate “actual prejudice.” Id. (citation omitted). “Generalized assertions

 of the loss of memory, witnesses, or evidence are insufficient to establish actual

 prejudice.” Id. (citations and internal quotation marks omitted).

       For a defendant to demonstrate a violation of his Due Process rights based

 on the Government’s failure to preserve evidence, he must necessarily show: (1)

 “the unavailable evidence possessed exculpatory value that was apparent before

 the evidence was destroyed;” (2) the lost evidence is “of such a nature that the

 defendant would be unable to obtain comparable evidence by other reasonably

 available means;” and (3) the Government acted in bad faith in failing to preserve

 the potentially useful evidence. United States v. Zaragoza-Moreira, 780 F.3d 971,

 977 (9th Cir. 2015) (citations and internal quotation marks omitted). “The

 presence or absence of bad faith turns on the government’s knowledge of the

 apparent exculpatory value of the evidence at the time it was lost or destroyed,

 because without knowledge of the potential usefulness of the evidence, the

 evidence could not have been destroyed in bad faith.” Id.

       B.     Video of December 10, 2014 Traffic Stop

       Beal cannot show that the video of the December 10, 2014 traffic stop has

 any exculpatory value because we know almost nothing about that video. See Dkt.

 No. 355 at 39–41 (Officer Simmons testifying as to the video of the traffic stop).

 The record tells us nothing, for instance, about how many Ohio State Trooper


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 video cameras were operational, when they were employed, or, critically, where

 they were employed. See id. We do not know whether police vehicle dashcams,

 front grill cams, body cams, or other types of cams are at issue. See id. We do not

 know in which direction any camera was facing or at what point the camera was

 turned on or off. See id. We do not know whether any camera was video-only or

 also captured audio. See id. It is impossible to know, then, whether the traffic stop

 recording of which Defendant complains would even be capable of revealing the

 facts Beal speculates it did.

       More precisely, Beal confidently asserts that the missing traffic stop video

 reveals that “the taxi driver violated no traffic laws, and the stop was pretextual.”

 Dkt. No. 371 at 4. He boldly continues that the video would reveal how Beal was

 “not allowed to leave after the drug detection dog failed to indicate the presence of

 narcotics.” Dkt. No. 371 at 4. Finally, Beal urges that the video would shed light

 on whether and how consent was obtained to search the black backpack in which

 the drugs were found. Dkt. No. 360-1 at 5. Given the absence of the camera

 information referenced above, how Beal knows any of this is lost on the Court. As

 but one example, since we do not know if the recording contained any audio, it is

 far from clear how any Miranda violation would be evident through production of

 the recording.




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        The value of any recording is highly suspect for another reason: many of the

 propositions that Beal asserts would be revealed by any recording are simply not

 relevant. As mentioned, for instance, Beal says the video would show the taxi

 driver violated no traffic laws and officers therefore had no cause or suspicion to

 pull it over. Following the evidentiary hearing that the Court held on Beal’s

 suppression motion, however, the Court found that “Officer Simmons had more

 than enough indicia of criminal activity to stop Beal’s taxi, absent any traffic

 violations.” Dkt. No. 350 at 12. Beal also claims that the video would likely show

 that he was “not allowed to leave after the drug detection dog failed to indicate the

 presence of narcotics.” Dkt. No. 371 at 4. The Court has ruled on this too. The

 Court found that because Officer Simmons had probable cause to believe the taxi

 contained narcotics before the dog sniff, his continued detention after the dog did

 not alert did not violate Beal’s rights.” Dkt. No. 350 at 13-14.

        In short, Beal has not shown that the traffic stop video had any exculpatory

 value, and having failed to do that, he cannot show prejudice.1



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  As to whether “comparable” evidence to the lost video is available to Beal, see Zaragoza-
 Moreira, 780 F.3d at 977, the Government has offered several dozen photographs taken at the
 scene of the December 10, 2014 traffic stop. The Court need not reach the question of whether
 these are, in fact, comparable, because, as the Court has explained, Beal has failed to
 demonstrate the video’s exculpatory value. Similarly, the Court need not determine whether the
 video was lost as a result of the Government’s bad faith for the same reason. On this latter point,
 however, the Court notes that Beal appears to concede that he has no evidence of bad faith,
 acknowledging that it may have been lost as a result of negligence or oversight. See Dkt. No.
 371 at 5–6 (arguing that just the fact of two agencies losing the videos constitutes “bad faith”).

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          C.    Recording of December 10, 2014 Interview

          Beal argues that the December 10, 2014 audio recording of his interview by

 Ohio State Trooper Penny Beaty is necessary to “show[] the jury what [Beal] was

 actually asked and how he answered.” Dkt. No. 360-1 at 5. But Beal says nothing

 about why Trooper Beaty’s detailed report of that interview—which provides

 almost a verbatim account—does not accomplish the same purpose, nor does he

 allege that her report is inaccurate, incomplete, or misleading. See Dkt. No. 355 at

 122–123 (Officer Beaty explaining she created a close-to-verbatim report of the

 interview from the recording). Beal, in other words, does not meet the

 comparability requirement set forth in Zaragoza-Moreira. 780 F.3d at 977.

          Beal also rehashes an argument that he made during his suppression

 hearing—that the recording would reveal whether he was read Miranda warnings

 prior to Beaty’s questioning. Dkt. No. 360-1 at 5. But Officer Beaty

 acknowledged that she did not read Beal his Miranda rights because Officer

 Simmons had already done so a short time earlier during the course of Beal’s

 traffic stop. Dkt. No. 355 at 104–105. Accordingly, production of the recording

 would offer nothing of value, much less exculpatory value, on this uncontroverted

 point.




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        Because Beal cannot satisfy the above-referenced portions of the Ninth

 Circuit’s Zaragoza-Moreira test2 with regard to the audio recording of his

 December 2014 interview, no Due Process violation has been shown.

        D.     Corrective Instruction

        Beal argues that if the Court fails to find that loss of the evidence detailed

 above constitutes a Constitutional violation demanding dismissal of the Indictment,

 the Court should at least give a corrective jury instruction as to that evidence. Dkt.

 No. 371 at 10. As the Court indicated at oral argument, Beal dedicated a single

 paragraph to this assertion, which is insufficient to properly present this issue to

 the Court. Beal’s corrective instruction request is therefore denied without

 prejudice to him reasserting it in a more complete way as part of either his jury

 instruction submission or via a motion in limine, both of which remain open to him

 on the current pretrial calendar.

 II.    Speedy Trial

        Beal’s Speedy Trial claims allege that the Government’s pre-indictment

 delay, and further delay from indictment to trial, violates his Sixth Amendment and

 Speedy Trial Act rights. Because Beal consented to much of the delay, and

 virtually all of it was, in any event, reasonable as a result of what Beal


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  And once again, as was the case with the December 2014 traffic stop video, the Court does not
 reach the question of whether the interview recording was lost as a result of the Government’s
 “bad faith”, given Beal’s failure to satisfy Zaragoza-Moreira’s other elements.

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 acknowledges was brought on by the complexity of discovery and a succession of

 counsel changes among co-Defendants, none of which has hampered Beal’s ability

 to present a defense, the Speedy Trial claims have no merit.

       A.     Sixth Amendment

       The Sixth Amendment guarantees that criminal defendants “shall enjoy the

 rights to a speedy and public trial . . . .” U.S. CONST. amend. VI. To determine

 whether a defendant’s Sixth Amendment Speedy Trial rights have been violated,

 courts balance four factors: “[l]ength of delay, the reason for the delay, the

 defendant’s assertion of his right, and prejudice to the defendant.” Barker v.

 Wingo, 407 U.S. 514, 530 (1972).

       Here, the Court recognizes Beal raised his Speedy Trial rights directly or

 indirectly in opposing two trial continuances and moving to have his case severed.

 See Dkt. Nos. 183, 283, 303, 316. And the Court presumes the roughly 23-month

 delay from Beal’s indictment to his expected trial is prejudicial. See Doggett v.

 United States, 505 U.S. 647, 652 n. 1 (1992) (citations omitted) (“Courts have

 generally found postaccusation delay ‘presumptively prejudicial’ at least as it

 approaches one year”).

       But presumptive prejudice alone does not demonstrate a Sixth Amendment

 violation. See id. at 655-56. The Court must consider whether the presumption is

 rebutted by the reasons for the delay and the actual prejudice any delay caused


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  Beal. Id. When considering the reasons for delay, the Supreme Court has

  instructed courts to, among other things, identify the party responsible for the

  delay. Vermont v. Brillon, 556 U.S. 82, 90 (2009) (citation omitted).

        Beal was indicted on July 2, 2019. Dkt. No. 4. He was arrested and has

  been in custody since September 25, 2019. Dkt. No. 73. Neither at his initial

  appearance on October 16, 2019, nor anytime thereafter, did Beal object to a trial

  date of March 9, 2020, which excludes eight months from his Speedy Trial Act

  computation. See Dkt. No. 100. In fact, in February 2020, Beal joined co-

  defendant Sione Olevao’s motion to continue trial from March 9, 2020 to June 15,

  2020. Dkt. Nos. 132, 136, 138.

        Beal first objected to a trial continuance on May 18, 2020. Dkt. No. 183.

  But only a few months later, on September 2, 2020, Beal again consented to a

  further trial continuance. Dkt. No. 209. It was not until December 14, 2020 that

  Beal again objected to a continuance and has done so continuously since. Dkt.

  Nos. 282, 283.

        Since March 27, 2021, this Court has received from Beal: (1) a motion to

  suppress evidence and statements; (2) an appeal of the Magistrate Judge’s order

  denying severance of his case for trial; (3) a motion to compel evidence; (4) two

  motions to dismiss the Indictment; and (5) eight motions in limine. Dkt. Nos. 307,




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  314, 316, 354, 359, 360, 371, 390. The Court received testimony from six

  witnesses at a suppression hearing on April 29, 2021. Dkt. No. 344.

        In short, though Beal was indicted nearly two years ago and has been in

  custody for roughly 21 months, he has objected to just over 9 months of pretrial

  delays. Dkt. No. 183 (objecting to delay from May 18, 2020 to September 2, 2020,

  when he again consented to a continuance); Dkt. No. 282, 283 (objecting to delay

  from December 14, 2020 until his currently scheduled trial date of June 21, 2021).

  Moreover, as detailed above, he has spent roughly the last three months litigating

  various issues for trial, most of which could have been raised earlier. Of the delays

  to which Beal objected, all were initiated by Beal’s co-defendants, not the

  Government. See Dkt. Nos. 183, 283. Together, these facts weigh against finding

  Beal’s Sixth Amendment Speedy Trial rights were violated.

        The Court further finds that the enumerated delays have not actually

  prejudiced Beal. “[A]ctual prejudice can be shown in three ways: oppressive

  pretrial incarceration, anxiety and concern of the accused, and the possibility that

  the accused’s defense will be impaired.” United States v. Beamon, 992 F.2d 1009,

  1014 (9th Cir. 1993) (citing Doggett, 505 U.S. at 654). Beal claims to have all

  three: (1) the length and conditions of his pretrial incarceration have been

  oppressive; (2) he is anxious and concerned about his case; and (3) the loss of the




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  recordings of his December 2014 traffic stop and December 2014 interrogation

  impairs his ability to present a defense. Dkt. No. 360-1 at 14.

        Though the Court acknowledges the length of Beal’s pretrial detention, as

  mentioned, much of that occurred with his assent, and the Court, in April, severed

  his case for trial, in part, to address this concern. See Dkt. No. 350 at 22–25. In so

  doing, the Court acknowledged that the Circuit has recently cautioned that a 21-

  month pretrial detention in a single defendant case was a “troubling length.”

  United States v. Torres, 995 F.3d 695, 710 (9th Cir. 2021). This, of course, is

  anything but a single defendant case. Multi-defendant cases are almost always

  plagued by delays caused by other parties and that has precisely been the case here.

        The Court also acknowledges that, in nearly all criminal cases, a defendant

  is likely to experience anxiety during the pendency of the case. Beal’s generic

  description of feeling anxious, particularly in light of the reasonableness of his

  pretrial delays (discussed further below), does not rise to the level of actual

  prejudice sufficient to find a Sixth Amendment violation. Finally, as explained

  above, the Court finds that Beal has failed to demonstrate how loss of the recording

  evidence at issue actually prejudices or impairs the presentation of his defense

  because he has failed to show how that evidence has any exculpatory value.




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        B.     Speedy Trial Act

        Beal argues that the seventy-day limit under 18 U.S.C. § 3161 (“the Speedy

  Trial Act”) has expired because (1) he objected to the continuance of trial on two

  occasions, and (2) though those delays might nonetheless have been reasonable,

  they should not be attributed to him. Dkt. No. 360-1 at 15-18. The Government

  disagrees, arguing that the continuances were reasonable under 18 U.S.C.

  § 3161(h)(6) given the number of defendants, the nature and severity of the

  charges, the extent of discovery, the complexity of the case, and the fact that new

  attorneys for co-defendants had joined the case, needing time to prepare, in each

  instance of a continuance. Dkt. No. 373 at 5-7. The Court agrees with the

  Government.

        The Speedy Trial Act requires that a defendant’s trial commence within

  seventy days of the filing date of an indictment or the defendant’s initial

  appearance, whichever is later. See 18 U.S.C § 3161(c)(1). Certain delays are

  excluded from computing the seventy-day limit. See 18 U.S.C. § 3161(h). For

  instance, a court may exclude “any period of delay resulting from a continuance

  . . . if the judge granted such continuance on the basis of his findings that the ends

  of justice served by taking such action outweigh the best interest of the public and

  the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7). In making an “ends of

  justice” determination, the Court considers, among other things:


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        (i)    Whether the failure to grant such a continuance in the
               proceeding would be likely to make a continuation of such
               proceeding impossible, or result in a miscarriage of justice.
        (ii)   Whether the case is so unusual or so complex, due to the
               number of defendants, the nature of the prosecution, or the
               existence of novel questions of fact or law, that it is
               unreasonable to expect adequate preparation for pretrial
               proceedings or for the trial itself within the time limits
               established by this section.
        ....
        (iv) Whether the failure to grant such a continuance in a case which,
             taken as a whole, is not so unusual or so complex as to fall
             within clause (ii), would deny the defendant reasonable time to
             obtain counsel, would unreasonably deny the defendant or the
             Government continuity of counsel, or would deny counsel for
             the defendant or the attorney for the Government the reasonable
             time necessary for effective preparation, taking into account the
             exercise of due diligence.
  18 U.S.C § 3161(h)(7)(B).
        “It is well established that an exclusion from the Speedy Trial clock for one

  defendant applies to all codefendants. . . . The attribution of delay to a codefendant,

  however, is limited by a reasonableness requirement.” United States vs. Messer,

  197 F.3d 330, 336 (9th Cir. 1999) (citation omitted). The proper test to evaluate

  the requirement “is whether the totality of the circumstances warrants a conclusion

  that the delay was unreasonable.” Id. at 338.

        As discussed above, Beal has objected to just over 9 months of trial delays.

  Given the Magistrate Judge’s explanation for granting the two continuances over

  Beal’s objections, the Court finds the trial delays were reasonable under the

  circumstances. On May 27, 2020, the Magistrate Judge granted, over Beal’s


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  objection, Defendant Tasmania Milo’s motion to continue trial from June 15, 2020

  to October 19, 2020 and excluded the time under the Speedy Trial Act. Dkt. No.

  186. The Magistrate Judge noted that co-Defendant Milo’s counsel had just joined

  the case and a failure to grant the requested continuance “likely would result in a

  miscarriage of justice and would deny [Milo’s counsel] reasonable time necessary

  for effective preparation, taking into account the exercise of due diligence.” Id. at

  3-4. The Magistrate Judge cited the number of defendants, the number, nature, and

  severity of the offenses charged, the nature and extent of discovery recently

  produced by the Government, and the time needed to investigate and prepare the

  case for trial as contributing reasons for granting the continuance. Id.

         On December 28, 2020, the Magistrate Judge granted, again over Beal’s

  objection, Defendant Vaitaki Manoa, Jr.’s motion to continue trial from January

  11, 2021 to June 21, 2021. Dkt. No. 285. The Magistrate Judge noted that co-

  defendant Manoa’s counsel had just joined the case and cited virtually the same set

  of reasons justifying its May 27, 2020 decision to continue trial. Id. at 3-4. In

  short, the Court agrees with Beal’s frank concession that, “[i]t is understandable in

  the age of COVID and in such a case with a large amount of discovery that

  continuances for new attorneys might be needed.” 3 Dkt. No. 360-1 at 17.


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   Beal argues that despite these delays being “understandable,” they should not apply to him
  because, had his initial severance motion been granted, “his trial could have commenced and
  been resolved over a year ago.” Dkt. No. See 360-1 at 17–18. This argument is unpersuasive.

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  Accordingly, the Court finds no Speedy Trial Act violation. Given the totality of

  the circumstances, the nine plus months of trial delays to which Beal objected were

  reasonable.

  III.   Duplicity

         Beal argues that, because Count I of the Indictment—the only count against

  him—is duplicitous,4 the Court should either dismiss it or, in the alternative, rule as

  a matter of law that Beal can only be convicted on the lesser charge of violating 21

  U.S.C. § 841(b)(1)(B). Dkt. No. 360-1 at 1–3. The Government does not contest

  that Count I is duplicitous. Dkt. No. 373 at 2–3. Rather, it argues that the remedy

  Beal seeks is inappropriate and that duplicity may be cured by a unanimity

  instruction and special verdict form. Id. The Court agrees with the Government.

         The Ninth Circuit has established that “a defendant indicted pursuant to a

  duplicitous indictment may be properly prosecuted and convicted if either (1) the

  government elects between the charges in the offending count, or (2) the court

  provides an instruction requiring all members of the jury to agree as to which of



  First, Beal contributed to his pretrial delay by waiting ten months to appeal the Magistrate
  Judge’s order denying his motion to sever. Dkt. Nos. 186, 303, 316. Moreover, Beal’s initial
  motion to sever was denied in May 2020. Dkt. No. 186. This Court overruled that decision only
  after Beal had spent almost another year in pretrial detention, making clear that the length of that
  detention was a material factor in granting severance. Dkt. No. 350 at 22–25. In other words,
  the Court does not necessarily agree that Beal’s severance motion would have been granted in
  May 2020, had he brought it before this Court at that time, such that later trial delays should not
  be attributed to him.
  4
    “Duplicity is the joining in a single count of two or more distinct and separate offenses.” United
  States v. UCO Oil Co., 546 F.2d 833, 835 (9th Cir.1976), cert. denied, 430 U.S. 966 (1977).

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  the distinct charges the defendant actually committed.” United States v. Ramirez-

  Martinez, 273 F.3d 903, 913 (9th Cir. 2001), overruled on other grounds by United

  States v. Lopez, 484 F.3d 1186 (9th Cir. 2007). Because the Government has

  represented it will ask for an unanimity instruction and “propose that a special

  verdict form be used requiring the jury to unanimously find by evidence beyond a

  reasonable doubt the controlled substance that the Defendant conspired to

  distribute and possess with intent to distribute,” together with the quantity of that

  controlled substance, Dkt. No. 373 at 2–3, Count I of the Indictment need not be

  dismissed.5

                                         CONCLUSION

          For the reasons set forth herein, Beal’s motions to dismiss, Dkt. Nos. 360,

  371, are DENIED.

          IT IS SO ORDERED.

          Dated: June 7, 2021 at Honolulu, Hawai’i.




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  5
   If the Government fails to propose a proper set of curative jury instructions and verdict form,
  the Court may do so sua sponte.

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